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                             SOUTHERN DISTR ICT OF FLO RIDA

                                     CaseN o.:20-M J-02247-CM M


   RE:

   SEALED CRIM INAL CO M PLA IN T
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         CO M ES N O W tht United States ofA m erica,by and through the undersigned Assistant

   United StatesAttorney,andherebyrequeststhisHonorableCourttounsealthecomplaint(DE 1)
   sled.Sealing in no longernecessary.



                                              Respectfully subm itted,

                                             A RIAN A FA JA RD O O RSHAN
                                             UN ITED STA TES ATTORN EY


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